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           AO 450 (GAS Rev l0/ 03)Judgment in a Civil Case



                                              United States District Court
                                                           Southern District of Georgia

                     Laurie Abbott, Fred Williams, and Fred Williams
                     Homebuilders, Inc .


                                                                                            JUDGMENT IN A CIVIL CASE


                                                      V.                                  CASE NUMBER : CV403-041

                     City of Pooler, Earl L Carter, Billie L . Tyler, Streve E . Wall,
                     Jr , and Dennis Baxter




              EJ Jury Verdict . This action came before the Court for a trial by jury The issues have been tried and the jury
                         has rendered its verdict .


              m Decision by Court .This action came before the Court The issues have been considered and a decision has been

                         rendered


                         IT IS ORDERED AND ADJUDGED

                         that in accordance with the Court' s Order dated February 7, 2005, granting Defendant ' s motion for

                         Summary Judgment , Judgment is hereby entered in favor of City of Pooler, Earl L . Carter, Billie L .

                         Tyler,Steve E . Wall, Jr . and Dennis Baxter, this case is hereby dismissed .




                                                                                                                          0     T,

              February                         8,           2005         Scott L . Poff
              Date                                                           Clerk



                                                                                         (By Deputy Clerk
OAS Re .   10, 103
                                                                                                                                     I   W
